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            7
                                   UNITED STATES BANKRUPTCY COURT
            8
                                     EASTERN DISTRICT OF CALIFORNIA
            9
                                             SACRAMENTO DIVISION
           10
                                                         Case No.     19-21640
           11    In re
                                                         Chapter 13
           12    DEBORA LEIGH
                 MILLER - ZURANICH                       DCN: DTK-1
           13
                                   Debtor.               MEMORANDUM OF POINTS AND
           14                                            AUTHORITIES IN SUPPORT OF
                                                         MOTION TO DISMISS
           15                                            BANKRUPTCY CASE WITH
                                                         180 DAY BAR TO RE-FILING
           16
                                                         DATE:        October 8, 2019
           17
                                                         TIME:        2:00 p.m.
           18
                                                         DEPARTMENT B
           19                                            COURTROOM 32
                                                         Hon. Christopher D. Jaime
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                            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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            1    I.       INTRODUCTION
            2             This Motion to Dismiss is filed on behalf of Hall Mortgage Fund, LP, the
            3    holder of a first trust deed encumbering a vacation condominium located at 549
            4    Lakeshore Blvd, Incline Village, Nevada. It is noticed to be heard at the Preliminary
            5    Status Conference, scheduled for October 8, 2019, as authorized by the Court’s Order

            6    entered August 28, 2019 (Docket No. 93). It is made on two sufficient and
            7    independent grounds:
            8    • This chapter 11 case is being prosecuted in bad faith. The Debtor has invoked the
            9          automatic stay to delay foreclosure on property that she and her attorney know
           10          that she does not own. Title to the Incline Village property is held by a family trust
           11          formed by the Debtor’s late father. The Debtor is only one of the four trust

           12          beneficiaries. The Debtor’s attorney, on the very first day that he appeared in this
           13          case, amended Schedule A to falsely state that the Debtor owns this property in
           14          “Fee Simple.”

           15    • The Debtor has failed to abide by orders of the Court within the meaning of 11
           16          U.S.C. §109(g)(1). As to this, Hall Mortgage joins in the motion filed by OCRE
           17          Investment Fund 1, but requests relief in the form of dismissal and not conversion

           18          to chapter 7.
           19    II.      STATEMENT OF FACTS
           20             Hall Mortgage loan has been in default for failure to make any payments

           21    beginning in June, 2017. The Declaration of Ronda McNeff, filed herewith, sets out in
           22    detail how the Debtor filed a series of four chapter 13 bankruptcy petitions within the
           23    space of a year, in order to thwart foreclosure. Hall Mortgage requests that the Court

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            1    take judicial notice of the dockets in the earlier cases. (Request for Judicial Notice
            2    filed herewith (“RJN”) Exhs 1-4):

            3
            4     District / Case No. Date Filed Date Dismissed          Comments
                  N.D. Cal.           9/18/18    11/8/18                 Filed one day before the
            5     18-31023                                               scheduled Hall Mortgage
            6                                                            trustee’s sale
                  N.D. Cal.             11/20/18      12/21/18           Filed 13 minutes before the
            7     18-31252                                               Hall Mortgage Trustee’s
                                                                         sale, making it necessary to
            8                                                            rescind the completed sale
                  N.D. Cal.             1/11/19       1/28/19
            9     19-30034
           10     E.D. Cal.             3/18/19       Pending After      Filed the day of the
                  19-21640                            Conversion to      scheduled Hall Mortgage
           11                                         Chapter 11         trustee’s sale.

           12          Copies of the Hall Mortgage note and trust deed are attached as Exhibits 1 and
           13    2 to the McNeff Declaration. Each are executed by “Debora L. Miller, Successor
           14    Trustee of the Joseph J. Miller Living Trust.”(Note, Exh 1 p. 4; Trust Deed Exh 2 p.
           15    15). Joseph J. Miller, the Debtor’s father, died on September 7, 2012. The vesting
           16    deed for the Incline Village property (RJN Exh. 5) also shows the owner to be the
           17    Joseph J. Miller Living Trust.
           18          The McNeff Declaration states in detail the problems encountered by Hall
           19    Mortgage in attempting to foreclose its deed of trust in the face of constant chapter 13
           20    filings. Even though 11 U.S.C. § 362(c)(4) provides that there is no automatic stay at
           21    all in the case of a third serial filing, Hall Mortgage could not locate a foreclosure
           22    trustee which was actually willing to apply the law and complete the foreclosure.
           23    ///
           24    ///
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            1            The instant case fits the criteria for the entry of an “in rem” stay relief order as
            2    provided for in 11 U.S.C. § 362(d)(4)(B). Hall Mortgage was prepared to go forward

            3    with that motion shortly after the latest petition was filed. As set forth the McNeff
            4    declaration, Hall Mortgage was dissuaded from doing so after being contacted by one
            5    of the Miller siblings, who had opened an escrow for the sale of the property by the

            6    Joseph J. Miller Trust. By the time that it became clear that the sale would never
            7    occur, the Debtor had obtained an order in this latest case reinstating the automatic
            8    stay.

            9            In connection with the purported sale of the property out of the Trust, Hall
           10    Mortgage received a copy of what it believes is the last amendment to the Joseph J.
           11    Miller Trust, executed on June 2, 2012, three months before Joseph Miller’s death

           12    (McNeff Decl Exh 3). This Amendment provides in part:
           13                        14. My real property located at 549 Lakeshore Boulevard,
                               Unit 29 in Incline Village, Nevada . . . shall be retained in a Sub-
           14                  Trust named the Tahoe Sub-Trust. The assets shall be retained in
                               the Tahoe Sub-Trust subject to any encumbrances thereon and the
           15                  Trustee may rent the assets to produce income. The Tahoe Sub-
                               Trust will be governed by the provisions set forth in the Joseph J.
           16                  Miller Living Trust dated October 8, 2007 as amended, except that
                               the Tahoe Sub-Trust will distribute fifteen years after my date of
           17                  death in equal shares to my four children by right of
                               representation: Kimberley Miller, Debora Miller, Beverley Sopak
           18                  and John Miller.

           19            Under the terms of the Joseph J. Miller Trust, the Incline Village property thus
           20    cannot be distributed to beneficiaries until the year 2027, at which time each of the

           21    Miller siblings would have an equal share.
           22    ///
           23    ///

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            1          Schedule A/B filed by the Debtor in propria persona on May 5, 2019 (Docket
            2    No. 31) at the commencement of this case, lists the Incline Village property and states

            3    that the “nature of your ownership interest” is “Trustee of the Joseph J. Miller Trust.”
            4    That is consistent with the recorded vesting deed (RJN Exh 4) and the Hall Mortgage
            5    loan documents. Schedule A Part 9, item 23 answers the question “Do you own or

            6    control property that someone else owns?” by stating “Yes” and referring to the
            7    “condo located on Lake Tahoe” as owned by the Joseph J. Miller Trust.”
            8          On May 29, 2019, Mr. Cianchetta filed a substitution of attorney, appearing as

            9    counsel for the Debtor. On that same day, he submitted an amendment to Schedule A
           10    (Docket No. 46) which changed the information shown for the Incline Village
           11    property. Mr. Cianchetta omitted from the amended Schedules any reference to the

           12    Joseph J. Miller Trust (other than showing the Trust as a “Co-Debtor” on Schedule
           13    H). Amended Schedule A now falsely states that the Incline Village property is owned
           14    by the Debtor in “Fee Simple.” Schedule A Part 9 Item 23 answers the question “Do

           15    you own or control property that someone else owns?” by stating “No.” Hall
           16    Mortgage is not aware of any change in title to the Incline Village property. As
           17    indicated by the trust documents, the property could not have been distributed by the

           18    Joseph J. Miller Trust to the Debtor in “Fee Simple.”
           19          It appears that this amendment to Schedule A, prepared and signed by Mr.
           20    Cianchetta, was a falsehood intended to wrongly invoke the automatic stay.

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                 III.   A DISMISSAL ORDER SHOULD INCLUDE A FINDING THAT THE
            2           CHAPTER 11 CASE WAS PROSECUTED IN BAD FAITH
            3           This case is the last in a series of four bankruptcy cases, all commenced under
            4    chapter 13 within the space of a year. Each of the previous three cases were
            5    summarily dismissed for failure to appear. The timing of these filings and the failure

            6    to prosecute them, as well as communications by the Miller family made directly to
            7    the foreclosure trustee, indicate that the purpose of these petitions was simply to delay
            8    foreclosures on property owned by the Joseph J. Miller Trust. Property held by a trust

            9    as to which the Debtor is the trustee, where the Debtor has no power to revoke the
           10    trust, is not property of the bankruptcy estate. See, In re Unicom Computer Corp., 13
           11    F.3d 321, 324 (9th Cir. 1994). Family trusts are not themselves eligible for bankruptcy

           12    relief. See, In re Sung Soo Rim Irrevocable Intervivos Tr., 177 B.R. 673, 674 (Bankr.
           13    C.D. Cal. 1995).
           14           The Debtor, who filed this series of bad faith chapter 13 petitions in propria

           15    persona, may not have understood that the property owned by the Joseph J. Miller
           16    Trust was not protected by those bankruptcy filings. The Debtor’s new attorney
           17    clearly did understand, which is why he caused Schedule A to be amended to state

           18    falsely that the Debtor owned the Incline Village property in fee simple.
           19           The Schedules filed in this case list no unsecured creditors. In any event it
           20    appears that a chapter 7 trustee would not have the power to sell either the Incline

           21    Village property which is the Hall Mortgage collateral, or the Merlin Court property,
           22    which is subject to the OCRE trust deed.
           23    ///

           24    ///

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            1          Hall Mortgage frankly expects that this case will be dismissed for failure to
            2    follow court rules, as exhaustively set forth in a motion filed yesterday on behalf of

            3    OCRE Investment Fund. There is no reason to recapitulate those violations here. Hall
            4    Mortgage decided to add its own motion so that the facts with respect to the Joseph J.
            5    Miller Trust will be included in the record. Hall Mortgage urges the Court to find that

            6    this case was filed and prosecuted in bad faith to prevent foreclosure on property
            7    owned by the Joseph J. Miller Trust. Hall Mortgage also wishes to state its intention,
            8    on the record, to seek sanctions against the Debtor and against any lawyer who would

            9    file a frivolous appeal of the dismissal order, or would file yet another abusive
           10    bankruptcy petition.
           11    DATE:         October 1, 2019            KIRBY & McGUINN, A P.C.
           12
           13                                             By: /s/ Dean T. Kirby, Jr.
                                                          Dean T. Kirby, Jr.
           14                                             Attorneys for Creditor
                                                          Hall Mortgage Fund, LP
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                             MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
